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 ~AO 245B(05-MA)            (Rev. 06/05) Judgment in a Criminal Case
                             Sheet I-D. Massachusetts - 10/05



                                          UNITED STATES DISTRICT COURT
                                                             District of Massachusetts

           UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
          Juan Jose Gonzalez-Minyetty,                                        Case Number: 1:           14 CR 10175           - IT    -02
          aka Juan Jose Gonzalez; Sonny
                                                                              USM Number: 96224-038
                                                                               John F. Cicilline; Steven D. DiLibero
                                                                              Defendant 's Attorney
                                                                                                                      D Additional documents attached
 D
 THE DEFENDANT:
[(] pleaded guilty to count(s)        s
                                     _1                                                                                                               _

D pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
    after a plea of not guilty .

 The defendant is adjudicated guilty of these offenses:                                                Additional Counts - See continuation page    D
 Title & Section                    Nature of Offense                                                            Offense Ended              Count
21 USC § 846                  Conspiracy to Possess with Intent to Distribute and to Distribute Heroin,            06117114          Is
                              Co caine, and Cocaine Base




        The defendant is sentenced as provided in pages 2 through                   6        of th is judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)             Original Indictment                  [{] is     D are dism issed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                10/29/15
                                                                              Date of Imposition of Judgment

                                                                              aL..' i /C-.'
                                                                              Signatureof Judge
                                                                                The Honorable Indira Talwani
                                                                                Judge, U.S. District Court
                                                                              Nameand Title of Judge

                                                                                   0/10 II~
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                                                                                                                        2   of   6
DEFENDANT:   Juan Jose Gonzalez-Minyetty,
CASE NUMBER: 1: 14 CR 10175 - IT - 02

                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:          50       month(s)




    [Z] The court makes the following recommendations to the Bureau of Prisons:
     The court recommends that Defendant be housed in a facility as close as possible to Massachusetts.
     The court recommends that Defendant participate in the Residential Drug Abuse Program (RDAP) .

    [Z] The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
       D at                                   D a.m.       0 p.m. on
       D as notified by the United States Marshal.
    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D before 2 p.m. on
       D as notified by the United States Marshal.
       D as notified by the Probation or Pretrial Services Office.
                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a:....­                                               , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTYUNITED STATES MARSHAL
                      Case 1:14-cr-10175-IT Document 329 Filed 11/10/15 Page 3 of 6

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DEFENDANT:   Juan Jose Gonzalez-Minyetty,                                        D
CASE NUMBER: 1: 14 CR 10175 - IT - 02
                                                          SUPERVISED RELEASE                                            [Z] See continuation page
Upon release from imprisonment, the defendant shall be on supervised release for a term of:                   3   years



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
[Z] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
[Z] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
D student, as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or p-ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
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                  Sheet 4A - Continuation Page - Supervised ReleaselProbation -10/05

                                                                                                                          6
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DEFENDANT:   Juan Jose Gonzalez-Minyetty,
CASE NUMBER: 1: 14 CR 10175 - IT - 02

                       ADDITIONALD SUPERVISED RELEASE DPROBATION TERMS




                       Continuation of Conditions of D Supervised Release D Probation
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                      Sheet 5 - D. Massachusetts - 10105

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             Juan Jose Gonzalez-Minyetty,
DEFENDANT:
CASE NUMBER: 1: 14 CR 10175 - IT - 02
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                                                      Restitution
TOTALS            $                $100.00                                $                                       $


D The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(t), all non federal victims must be paid
    before the United States is paid.

Name of Payee                                 Total Loss*                            Restitution Ordered                         Priority or Percentage




                                                                                                                                    D See Continuation
                                                                                                                                          Page

TOTALS                              $                            $0.00                                   $0.00
                                                                                 $------....;;;..;;...;..;...;....



D Restitution amount ordered pursuant to plea agreement $
D The  defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 36I2(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     D the interest requirement is waived for the D fine D restitution.
     o    the interest requirement for the        0 fine 0               restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and 1I3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                                                                      Judgment - Page                         6
                       Juan Jose Gonzalez-Minyetty,
DEFENDANT:
CASE NUMBER: 1: 14 CR 10175                         - IT        - 02

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ~ Lump sum payment of $ _$_1_0_0_.0_0                  _ due immediately, balance due

           D not later than                                            , or
           o      in accordance        0     C,   0 D,
                                                0 E, or 0 F below; or
B D Payment to begin immediately (may be combined with 0 C,  0 D, or 0 F below); or
C D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $
                 (e.g., months or years), to commence
                                                                                                                   over a period of
                                                                      (e.g., 30 or 60 days) after the date of this judgment; or

D D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                 (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E D imprisonment.
    Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
                    The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment,payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D Joint and Several
                                                                                                                                o    See Continuation
                                                                                                                                     Page
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D The defendant shall pay the cost of prosecution.
 DThe defendant shall pay the following court cost(s):

  ~The defendant shall forfeit the defendant' s interest in the following property to the United States:

           The items listed in the court's Preliminary Order of Forfeiture.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
